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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1. VICKIE DYER,                            )
                                           )
              Plaintiff,                   )
                                           )
v.                                         )              17-1305-F
                                                 No. CIV-___________________
                                           )
1. STATE FARM MUTUAL                       )     Honorable __________________
AUTOMOBILE INSURANCE                       )
COMPANY,                                   )
                                           )
              Defendant.                   )

                                NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant, State Farm Mutual Automobile Insurance

Company (“State Farm”), pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Rule 38(b) of the

Federal Rules of Civil Procedure and Local Civil Court Rule 81.1 of the United States

District Court for the Western District of Oklahoma, hereby files this Notice of Removal of

this case from the District Court of Oklahoma County, Oklahoma, in which court this case

is pending, to the United States District Court for the Western District of Oklahoma, being

the district embracing the place where the case is pending. In support of this Notice of

Removal, Defendant states the following:

                                 Timeliness of Removal

       1.     Plaintiff commenced this action by filing the Petition in the District Court of

Oklahoma County, on November 7, 2017.
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       2.     State Farm was served via the Oklahoma Insurance Commissioner on

November 15, 2017.

       3.     In accordance with 28 U.S.C. § 1446(a) and LCvR 81.2, a copy of the Docket

Sheet and a clearly legible copy of all documents filed or served in the Oklahoma County

case are attached to this Notice of Removal as Exhibit Nos. “1” through “2”.

       4.     This removal was effected within 30 days of service of the Petition on State

Farm and therefore is timely. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344 (1999) (notice of removal is timely under 28 U.S.C. § 1446(b)

if filed within 30 days after service of the complaint).

                                   Diversity Jurisdiction

       5.     At the time the Petition was filed, at the time of removal and all intervening

times, the Plaintiff was (and is) a resident and citizen of the State of Oklahoma.

       6.     State Farm is a foreign insurance company incorporated in the State of Illinois

and its principal place of business is in the State of Illinois. State Farm is licensed to do

business in the State of Oklahoma. Therefore, it is deemed to be an Illinois citizen for the

purpose of diversity.

       7.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332 as there

is complete diversity between Plaintiff and State Farm. Removal is proper pursuant to 28

U.S.C. §§ 1332, 1441 and 1446.




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                           Allegations and Claims in the Petition

        8.      According to Plaintiff’s Petition, the underlying lawsuit arises out of an

automobile accident involving Plaintiff and unknown driver, which occurred on or about

September 6, 2014. At the time of accident, Plaintiff had a policy of automobile insurance,

Policy No. 000 1799-C30-36I, issued by State Farm, which contained a provision for

Uninsured/Underinsured Motorist Coverage. Plaintiff contends the policy was in force at the

time of the accident and further contends State Farm has breached the insurance contract and

caused Plaintiff damages by the refusal to pay Plaintiff’s demands for Underinsured Motorist

benefits. Plaintiff also contends State Farm’s actions in handling Plaintiff’s claim were in

bad faith. Plaintiff also seeks punitive damages to punish State Farm for its alleged bad faith

conduct. The State Farm policy under which Plaintiff was covered at the time of this

accident has uninsured/underinsured motorist coverage of $250,000.00/$500,000.00.

        9.      State Farm states there exists a legitimate dispute as to the nature and extent

of Plaintiff's injuries and damages.

        10.     Plaintiff alleges that State Farm breached its contract with Plaintiff and that

State Farm breached its duty of good faith and fair dealing. All of this is denied by State

Farm.

                                   Amount in Controversy

        11.     State Farm and its counsel represent to this Court their good faith belief that

the amount in controversy is met for the following reasons:


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              a.     Plaintiff alleges State Farm acted in bad faith and
                     that State Farm breached the insurance contract
                     with Plaintiff.

              b.     Plaintiff specifically states in her Petition that she
                     is seeking judgment against State Farm for “actual
                     damages in an amount in excess of $75,000.00,"
                     which is an amount in excess of the amount
                     required for diversity jurisdiction pursuant to 28
                     U.S.C. §1332. Additionally, Plaintiff seeks
                     contract damages in the amount of $250,000.00
                     and punitive damages in an amount in excess of
                     $75,000.00.

              c.     Plaintiff’s Petition asserts that State Farm’s
                     conduct was such that it is claimed to be liable for
                     damages which include actual and punitive
                     damages.

              d.     Based on Plaintiff’s allegations, prayer for
                     recovery of actual and punitive damages,
                     Plaintiff is seeking judgment against State Farm
                     in an amount exceeding the sum of $75,000.00,
                     together with interest, attorney fees and costs,
                     which is in excess of the amount required for
                     diversity jurisdiction pursuant to 28 U.S.C. §1332.

      12.     While State Farm disputes Plaintiff’s allegations, State Farm and its counsel

have attempted in good faith to set forth the factual basis for establishing the amount in

controversy in excess of $75,000.00 has been met in accordance with Laughlin v. Kmart

Corp., 50 F.3d 871 (10th Cir. 1995). See also Schrader v. Farmers Insurance Company, 2008

WL 2782710 (W.D. Okla.) (citing to McPhail v. Deere & Co. 529 F.3d 947 (10th Cir. 2008).




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      13.      Pursuant to 28 U.S.C. § 1446(a), State Farm acknowledges that this Notice of

Removal is signed and filed herein pursuant to Rule 11 of the Federal Rules of Civil

Procedure.

      14.      State Farm and its counsel acknowledge that the timing of this removal is

governed by 28 U.S.C. § 1446(b) which provides, in pertinent part:

               The notice of removal of a civil action or proceeding shall be
               filed within 30 days after receipt by the defendant, through
               service or otherwise, of a copy of the initial pleadings setting
               forth the relief upon which such action or proceeding is based,
               or within 30 days after the service of summons upon the
               defendant if such initial pleading has then been filed in court
               and is not required to be served on the defendant, whichever
               period is shorter.

               If the case stated by the initial pleading is not removable, a
               notice of removal may be filed within 30 days after receipt by
               the defendant, through service or otherwise, of a copy of an
               amended pleading, motion, order or other paper from which it
               may be first ascertained that the case is one which is or has
               become removable . . . .

      State Farm contends that removal is proper based upon the face of the Petition and

that said removal has been done so timely. See Martin v. Franklin Corp., 251 F.3d 1284,

1290 (10th Cir. 2001) (holding that a Section 1332(a) removal is appropriate only if the

amount-in-controversy requirement is “affirmatively established” on the face of either the

state court petition or the notice of removal); see also 23 O.S. § 9.1(C)(2)(b); Meira v.

Dairyland Ins. Co., 143 F.3d 1337 (10th Cir. 1998); Salaar v. Geico Ins. Co., 2010 WL

2292930 (D.N.M. 2010).


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       15.     The Tenth Circuit has construed the language of 28 U.S.C. § 1446(b) to mean

that “the removal period does not begin until the defendant is able to ‘intelligently ascertain

removability so that in his petition for removal he can make a simple and short statement of

the facts.’” Huffman v. Saul Holdings Limited Partnership, 194 F.3d 1072, 1079 (10th Cir.

1999) (quoting DeBry v. Transamerica Corp., 601 F.2d 480, 489 (10th Cir. 1979). The notice

of removability must be “unequivocal,” and “the circumstances permitting removal must

normally come about as a result of a voluntary act on the part of the Plaintiff.” Id. (citing

DeBry, 601 F.2d at 486-88).

       16.     Upon the face of Plaintiff’s Petition, it clearly states that Plaintiff seeks money

damages in an amount in excess of the amount required for diversity jurisdiction pursuant

to 28 U.S.C. § 1332.

       17.     Pursuant to the teachings of Laughlin, supra, the removing defendant bears the

burden of establishing federal court jurisdiction at the time of removal. Laughlin, 50 F.3d

at 873. State Farm and its counsel contend that the facts and reasons set forth above support

removal.

       18.     Pursuant to LCvR 81.1, State Farm demands a jury trial and affirmatively states

Plaintiff is put on notice of said demand.




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       19.     Contemporaneously with the filing of this Notice of Removal, written notice

has been served upon the Plaintiff through his counsel of record and a copy of this Notice of

Removal has been filed with the District Court of Oklahoma County, Oklahoma.



                                          Respectfully submitted,

                                          WILSON, CAIN & ACQUAVIVA
                                          300 Northwest 13th Street, Suite 100
                                          Oklahoma City, Oklahoma 73103
                                          Telephone: (405) 236-2600
Date: December 5, 2017                    Facsimile: (405) 231-0062


                                           s/Joseph T. Acquaviva, Jr.
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                                          ATTORNEYS FOR DEFENDANT,
                                          STATE FARM MUTUAL AUTOMOBILE
                                          INSURANCE COMPANY




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                             CERTIFICATE OF SERVICE

   X      I hereby certify that on the 5th day of December, 2017, I electronically transmitted
the attached document to the Clerk of the Court using the ECF System for filing. Based on
the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing
to the following ECF registrants:

Joe E. White
joe@whiteandweddle.com
Charles C. Weddle III
charles@whiteandweddle.com
WHITE & WEDDLE, P.C.
630 N.E. 63rd Street
Oklahoma City, OK 73105
ATTORNEYS FOR PLAINTIFF

        I hereby certify that on the           day of            , 2017, I served the
attached document by certified mail, return receipt requested, with proper postage prepaid
thereon to the following:



                                            s/Joseph T. Acquaviva, Jr.
                                           Joseph T. Acquaviva, Jr.




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